Case 6:09-cr-00085-JDK-KNM          Document 150        Filed 11/04/10      Page 1 of 2 PageID #:
                                           863



                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        TYLER DIVISION

 UNITED STATES OF AMERICA                        §

 Vs.                                             §                          CASE NO. 6:09CR85

 EMMANUEL GABRIELS                               §
 a/k/a “TALIBAN” a/k/a “T-BANNY”


                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE


        This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C. §

 636(b)(3). This case has been referred by the Honorable Michael H. Schneider to the undersigned

 Magistrate Judge for the taking of a felony guilty plea. The parties have consented to the

 administration of guilty plea and Fed.R.Crim.P. 11 allocution by a United States Magistrate Judge.

        On November 4, 2010, Defendant and counsel appeared before the undersigned, who

 addressed Defendant personally in open court and informed Defendant of, and determined that

 Defendant understood, the admonishments under Rule 11 of the Federal Rules of Criminal

 Procedure. Pursuant to a plea bargain agreement with the Government, Defendant pled guilty to

 Count 1 of the Second Superseding Indictment. After conducting the proceeding in the form and

 manner prescribed by Fed.R.Crim.P. 11, the undersigned finds:

        1.      Defendant, with the advice of his attorney, has consented orally and in writing to
                enter his guilty plea before a Magistrate Judge subject to final approval and
                sentencing by the presiding District Judge;

        2.      Defendant fully understands the nature of the charges and penalties;


                                                                                       Page 1 of 2
Case 6:09-cr-00085-JDK-KNM            Document 150            Filed 11/04/10   Page 2 of 2 PageID #:
                                             864



        3.      Defendant fully understands the terms of the plea agreement;

        4.      Defendant understands his constitutional and statutory rights and wishes to waive
                these rights, including the right to a trial by jury and the right to appear before a
                United States District Judge to enter this plea of guilty;

        5.      Defendant’s plea is made freely and voluntarily;

        6.      Defendant is competent to enter this plea of guilty;

        7.      There is a factual basis for this plea; and

        8.      The ends of justice will be served by acceptance of Defendant’s plea of guilty.


                                          Recommendation

        It is therefore RECOMMENDED that the District Judge accept the plea of guilty and enter

 a final judgment of guilty against Defendant. It is further RECOMMENDED that the plea

 agreement be approved conditioned upon a review of the presentence report.

        A party’s failure to file written objections to the findings, conclusions and recommendations

 contained in this Report and Recommendation within fourteen days after being served with a copy

 thereof shall bar that party from de novo review by the district judge of those findings, conclusions

 and recommendations and, except on grounds of plain error, from appellate review of unobjected-to

 factual findings and legal conclusions accepted and adopted by the district judge. Douglass v. United

 States Auto Ass’n., 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

             So ORDERED and SIGNED this 4            day of November, 2010.



                                                              ____________________________
                                                              JUDITH K. GUTHRIE
                                                              UNITED STATES MAGISTRATE JUDGE



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